Case 1:21-cr-00332-PLF Document 15 Filed 04/30/21 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
v.

PAUL RUSSELL JOHNSON, and
STEPHEN CHASE RANDOLPH,

Defendants.

CRIMINAL NO.

MAGISTRATE NO. 21-MJ-367
MAGISTRATE NO. 21-MJ-382

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. §§ 111(a)(1) and (b), 2
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon and Inflicting Bodily Injury)
18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. §§ 1752(a)(4), (b)(1)(A),
(b)(1)(B), 2

(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon and
Resulting in Significant Bodily Injury)
40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. §§ 5104(e)(2)(F), 2

(Act of Physical Violence in the Capitol
Grounds or Buildings)
Case 1:21-cr-00332-PLF Document 15 Filed 04/30/21 Page 2 of 5

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, PAUL RUSSELL
JOHNSON and STEPHEN CHASE RANDOLPH, committed and attempted to commit an act
to obstruct, impede, and interfere with law enforcement officers, that is Officers from the United
States Capitol Police, lawfully engaged in the lawful performance of their official duties incident
to and during the commission of a civil disorder, and the civil disorder obstructed, delayed, and
adversely affected the conduct and performance of a federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, PAUL
RUSSELL JOHNSON and STEPHEN CHASE RANDOLPH, attempted to, and did, corruptly
obstruct, influence, and impede an official proceeding, that is, a proceeding before Congress, by
assaulting federal law enforcement officers, committing acts of civil disorder, and engaging in
disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, PAUL RUSSELL
JOHNSON and STEPHEN CHASE RANDOLPH, using a deadly or dangerous weapon, that is,
a metal crowd control barrier, did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, officers and employees of the United States, and of any branch of the United States

Government (including any member of the uniformed services), while such officers or employees
Case 1:21-cr-00332-PLF Document 15 Filed 04/30/21 Page 3 of 5

were engaged in or on account of the performance of official duties, that is, Officer C.E. and
Officer D.C., both officers from the United States Capitol Police, and where the acts in violation
of this section involved physical contact with the victims and the intent to commit another felony,
and where the acts inflicted bodily injury on Officer C.E.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon,
Inflicting Bodily Injury, and Aiding and Abetting, in violation of Title 18, United States
Code, Sections | 1 1(a)(1) and (b) and 2)

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, STEPHEN CHASE
RANDOLPH, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), while such person was engaged in and on
account of the performance of official duties, that is United States Capitol Police Officer D.C., and
where the acts in violation of this section involved physical contact with the victim and the intent
to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, PAUL RUSSELL
JOHNSON and STEPHEN CHASE RANDOLPH, did unlawfully and knowingly enter and
remain in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President and Vice

President-elect were temporarily visiting, without lawful authority to do so and, during and in
Case 1:21-cr-00332-PLF Document 15 Filed 04/30/21 Page 4of5

relation to the offense, did use and carry a deadly and dangerous weapon, that is, a metal crowd

control! barrier.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))
COUNT SIX

On or about January 6, 2021, within the District of Columbia, PAUL RUSSELL
JOHNSON and STEPHEN CHASE RANDOLPH did knowingly, and with intent to impede and
disrupt the orderly conduct of Government business and official functions, engage in disorderly
and disruptive conduct in and within such proximity to, a restricted building and grounds, that is,
any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, when and
so that such conduct did in fact impede and disrupt the orderly conduct of Government business
and official functions and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a metal crowd control barrier.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, PAUL RUSSELL
JOHNSON and STEPHEN CHASE RANDOLPH, did knowingly engage in any act of physical
violence against any person and property in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President and Vice President-elect were temporarily visiting, and, during and in relation
Case 1:21-cr-00332-PLF Document 15 Filed 04/30/21 Page5of5

to the offenses, did use and carry a deadly and dangerous weapon, that is, a metal crowd control
barrier, and where the acts in violation of this section resulted in significant bodily injury.
(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, Resulting in Significant Bodily Injury, and Aiding and Abetting,
violation of Title 18, United States Code, Sections 1752(a)(4), (b)(1)(A), (b)(1)(B) and
COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, PAUL RUSSELL
JOHNSON and STEPHEN CHASE RANDOLPH willfully and knowingly engaged in
disorderly and disruptive conduct within the United States Capitol Grounds and in any of the
Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
of Congress and either House of Congress, and the orderly conduct in that building of a hearing

before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, PAUL RUSSELL
JOHNSON and STEPHEN CHASE RANDOLPH, willfully and knowingly engaged in an act
of physical violence within the United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings and Aiding and
Abetting, in violation of Title 40, United States Code, Sections 5104(e)(2)(F) and 2)

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
